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   7

   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10

  11    BLM PRODUCTS, LTD.,                       Case No. 2:17-cv-06224-RGK-
                                                  PLA
  12                   Plaintiff,
                                                  DEFENDANT COVVES, LLC’S
  13          v.                                  AMENDED ANSWER AND
                                                  COUNTERCLAIM
  14    COVVES, LLC,
  15                   Defendant.
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                                                       AMENDED ANSWER AND COUNTERCLAIM
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   1         Pursuant to the Court’s Order on Motion to Dismiss (Dkt. 22), Defendant
   2   Covves, LLC (“Covves”) hereby amends its previously-filed Answer (Dkt. 13) to
   3   respond to allegations pertaining to Count 3 (Declaration of Unenforceability of the
   4   ‘D617 Patent), Count 5 (Trade Libel), Count 6 (Interference with Economic
   5   Advantage) and Count 7 (Unfair Business Practices; Cal. Bus. and Prof. Code §§
   6   17200 et seq.), in the Complaint filed by Plaintiff BLM Products, Ltd. (“BLM”).
   7                    RESPONSE TO GENERAL ALLEGATIONS
   8            A. Jurisdiction and Venue
   9      1. Covves admits that BLM has alleged causes of action under 28 U.S.C. §
  10   2201, under the patent laws of the United States, 35 U.S.C. §§ 1-390, and under the
  11   Lanham Act, 15 U.S.C. § 1051 et seq., but denies that BLM is entitled to any relief.
  12      2. Covves admits that the Court has subject matter jurisdiction.
  13      3. Covves admits that it is subject to the personal jurisdiction of this Court.
  14   Covves denies the remaining allegations in Paragraph 3.
  15      4. Covves admits that venue is proper in this district. Covves denies the
  16   remaining allegations in Paragraph 4.
  17      5. Covves admits that an immediate, real, and justiciable controversy exists
  18   between BLM and Covves as to whether BLM is infringing or has infringed the
  19   ‘D617 Patent. Covves denies the remaining allegations in Paragraph 5.
  20            B. The Parties
  21      6. Covves lacks knowledge or information sufficient to form a belief as to the
  22   truth of the allegations of Paragraph 6 and accordingly denies these allegations.
  23      7. Covves admits that it sells recreation flotation devices though Amazon.com
  24   and other on-line channels, including its getfloaty.com website. Covves also admits
  25   that it is a California limited liability company located at 23145 Kashiwa Court,
  26   Torrance, CA 90505. Covves further admits that it is the recorded assignee of U.S.
  27   Design Patent Application No. 29/537,216, which issued as U.S. Design Patent
  28   D787,617 on May 23, 2017. Covves denies the remaining allegations in Paragraph
                                                             AMENDED ANSWER AND COUNTERCLAIM
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   1             C. Nature of the Action
   2      8. Covves admits that BLM has alleged causes of action under the cited legal
   3   statutes and the common law but specifically denies that BLM is entitled to any
   4   relief.
   5      9. Covves admits that it is the assignee of record of the ‘D617 Patent. Covves
   6   also admits that it believes that BLM is infringing the ‘D617 Patent. Covves
   7   further admits that Exhibit 1 to the Complaint appears to be a copy of the ‘D617
   8   Patent and that Exhibit 2 appears to be a photograph of the giant unicorn pool float
   9   sold by BLM. Covves denies the remaining allegations in Paragraph 9.
  10      10. Covves admits that it contacted Amazon.com in June 2017 to report that
  11   BLM was infringing the ‘D617 Patent. Covves denies the remaining allegations in
  12   Paragraph 10.
  13      11. Covves denies each and every allegation contained in Paragraph 11.
  14             D. The ‘D617 Patent and Covves’ Infringement Allegations
  15      12. Covves admits that BLM and Covves sell recreational flotation devices.
  16   Covves lacks knowledge or information sufficient to form a belief as to the truth of
  17   the remaining allegations of Paragraph 12 and accordingly denies these allegations.
  18      13. Covves admits that on or around June 14, 2017, it submitted an infringement
  19   report to Amazon.com by filling out its intellectual property infringement form at
  20   www.amazon.com/gp/help/reports/infringement. Covves further admits that it
  21   asked Amazon to remove the listing to BLM’s “Captain Floaty Giant Unicorn Pool
  22   Float” because Covves believes that BLM’s “Captain Floaty Giant Unicorn Pool
  23   Float” infringes the ‘D617 Patent. Covves denies the remaining allegations of
  24   Paragraph 13.
  25      14. Covves lacks knowledge or information sufficient to form a belief as to the
  26   truth of the allegations of Paragraph 14 and accordingly denies these allegations.
  27      15. Covves admits that its attorney, Mr. McArthur, communicated with BLM
  28   regarding Covves’ ownership of the ‘D617 Patent and the infringement notice that
                                                            AMENDED ANSWER AND COUNTERCLAIM
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   1   Covves submitted to Amazon. Covves further admits that Mr. McArthur sought to
   2   negotiate an arrangement by which BLM could license the ‘D617 Patent. Covves
   3   denies the remaining allegations in Paragraph 15.
   4      16. Covves lacks knowledge or information sufficient to form a belief as to the
   5   truth of the allegations of Paragraph 16 and accordingly denies these allegations.
   6      17. Covves lacks knowledge or information sufficient to form a belief as to the
   7   truth of the allegations of Paragraph 17 and accordingly denies these allegations.
   8      18. Covves lacks knowledge or information sufficient to form a belief as to the
   9   truth of the allegations of Paragraph 18 and accordingly denies these allegations.
  10      19. Covves lacks knowledge or information sufficient to form a belief as to the
  11   truth of the allegations of Paragraph 19 and accordingly denies these allegations.
  12      20. To the extent that Paragraph 20 alleges that FTF Zhenhan Inflatable Co.,
  13   Ltd. (“FTF”) invented the design covered by the ‘D617 Patent, Covves specifically
  14   denies this allegation. Email correspondence between Benson Su, Covves’ owner
  15   and Chief Executive Officer, and FTF demonstrates that Mr. Su sent FTF a series of
  16   graphics and instructions for creating a prototype of the design claimed in the
  17   ‘D617 Patent and that FTF merely reduced the already-conceived design to
  18   practice. This email correspondence was attached as Exhibit A to the Declaration of
  19   Kevin Zhang, FTF General Manager, filed with Covves’ original answer (Dkt 13-
  20   2). The allegations in Paragraph 20 are further refuted by Mr. Zhang’s sworn
  21   declaration, which states that FTF “made zero design decisions” for the design
  22   covered by the ‘D617 Patent and “simply prepared it to be physically
  23   manufactured.” (Zhang Declaration, ¶ 4). Covves lacks knowledge or information
  24   sufficient to form a belief as to the truth of the remaining allegations of Paragraph
  25   20 and accordingly denies these allegations.
  26      21. To the extent that Paragraph 21 alleges that “Lisa” at FTF invented the
  27   design covered by the ‘D617 Patent, Covves specifically denies this allegation.
  28   Email correspondence attached as Exhibit A to the Zhang Declaration (Dkt. 13-2)
                                                             AMENDED ANSWER AND COUNTERCLAIM
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   1   demonstrates that FTF merely reduced the already-conceived design to practice at
   2   the instruction of Mr. Su, Covves’ CEO. The allegations in Paragraph 21 are further
   3   refuted by Mr. Zhang’s sworn declaration, which states that BLM’s claims that
   4   “Lisa” invented the design covered by the ‘D617 Patent “are absolutely false.”
   5   (Zhang Declaration, ¶ 4). Covves lacks knowledge or information sufficient to
   6   form a belief as to the truth of the remaining allegations of Paragraph 21 and
   7   accordingly denies these allegations.
   8      22. To the extent that Paragraph 22 alleges that FTF invented the design
   9   covered by the ‘D617 Patent, Covves specifically denies this allegation. Email
  10   correspondence attached as Exhibit A to the Zhang Declaration (Dkt. 13-2)
  11   demonstrates that FTF merely reduced the already-conceived design to practice at
  12   the instruction of Mr. Su, Covves’ CEO. The allegations in Paragraph 22 are
  13   further refuted by Mr. Zhang’s sworn declaration, which states that FTF “made zero
  14   design decisions” for the design covered by the ‘D617 Patent and “simply prepared
  15   it to be physically manufactured.” (Zhang Declaration, ¶ 4). Covves lacks
  16   knowledge or information sufficient to form a belief as to the truth of the remaining
  17   allegations of Paragraph 22 and accordingly denies these allegations.
  18      23. The allegations of Paragraph 23 set forth arguments and legal conclusions
  19   as to which no response is required. To the extent a response is required, Covves
  20   denies the allegations of Paragraph 23.
  21      24. Covves admits that the claim of the ‘D617 Patent states, “The ornamental
  22   design for an inflatable toy, as shown and described.” The remaining allegations of
  23   paragraph 24 set forth arguments and legal conclusions as to which no response is
  24   required. To the extent a response is required, Covves denies the remaining
  25   allegations of Paragraph 24.
  26      25. Covves admits that Exhibit 4 to the Complaint appears to be a copy of the
  27   Inventor Declaration for the ‘D617 Patent, which states, “I hereby acknowledge that
  28   any willful false statement made in this declaration is punishable under 18 U.S.C.
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   1   1001 by fine or imprisonment of not more than five (5) years, or both.” Covves
   2   lacks knowledge or information sufficient to form a belief as to the truth of the
   3   remaining allegations of Paragraph 25 and accordingly denies these allegations
   4         26. Covves denies each and every allegation contained in Paragraph 26.
   5         27. Covves denies each and every allegation contained in Paragraph 27.
   6         28. Covves admits that it contacted Amazon.com to report that BLM was
   7   infringing the ‘D617 Patent. Covves denies the remaining allegations in Paragraph
   8   28.
   9         29. Covves denies each and every allegation contained in Paragraph 29.
  10         30. Covves admits that an actual controversy exists between BLM and Covves
  11   as to whether BLM is infringing, or has infringed, the ‘D617 Patent. Covves denies
  12   the remaining allegations in Paragraph 30.
  13               E. Count I (Declaration of Non-Infringement of the ‘D617 Patent)
  14         31. Covves repeats its responses to Paragraphs 1 through 30 above as if fully set
  15   forth herein.
  16         32. Covves admits that it claims to own all rights, title, and interest in US
  17   Design Patent No. D787,617.
  18         33. Covves admits that it has alleged to Amazon.com and to BLM directly that
  19   BLM’s Captain Floaty Giant Unicorn Pool Float infringes the ‘D617 Patent.
  20         34. Covves admits that a substantial, immediate, and real controversy exists
  21   between BLM and Covves as to whether BLM’s Captain Floaty Giant Unicorn Pool
  22   Float infringes the ‘D617 Patent. Covves denies that BLM is entitled to the relief it
  23   seeks.
  24         35. Covves admits that BLM has asserted a cause of action for a judgment
  25   declaring that BLM’s Captain Floaty Giant Unicorn Pool Float does not directly or
  26   indirectly infringe the ‘D617 Patent. Covves denies that BLM is entitled to the
  27   relief it seeks.
  28
                                                               AMENDED ANSWER AND COUNTERCLAIM
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   1               F.     Count II (Declaration of Invalidity of the ‘D617 Patent)
   2         36. Covves repeats its responses to Paragraphs 1 through 35 above as if fully set
   3   forth herein.
   4         37. Covves admits that it claims to own all rights, title, and interest in US
   5   Design Patent No. D787,617.
   6         38. Covves admits that it has alleged to Amazon.com and to BLM directly that
   7   BLM’s Captain Floaty Giant Unicorn Pool Float infringes the ‘D617 Patent.
   8         39. To the extent that Paragraph 39 alleges that the ‘D617 Patent is invalid for
   9   failing to name FTF as the correct inventive entity, Covves specifically denies this
  10   allegation. Email correspondence attached as Exhibit A to the Zhang Declaration
  11   (Dkt. 13-2) demonstrates that FTF did not invent the design protected by the ‘D617
  12   Patent and merely reduced the already-conceived design to practice at the
  13   instruction of Mr. Su, Covves’ CEO. The allegations in Paragraph 39 are further
  14   refuted by Mr. Zhang’s sworn declaration, which states that FTF “made zero design
  15   decisions” for the design covered by the ‘D617 Patent and “simply prepared it to be
  16   physically manufactured.” (Zhang Declaration, ¶ 4). The remaining allegations of
  17   Paragraph 39 set forth legal conclusions as to which no response is required. To the
  18   extent a response is required, Covves denies the remaining allegations of Paragraph
  19   39.
  20         40. Covves admits that BLM has asserted a cause of action for a judgment
  21   declaring that the ‘D617 Patent is invalid and for the court to correct the
  22   inventorship of the patent pursuant to 35 U.S.C. § 256. Covves denies that BLM is
  23   entitled to the relief it seeks.
  24               G. Count III (Declaration of Unenforceability of the ‘D617 Patent)
  25         41. Covves repeats its responses to Paragraphs 1 through 40 above as if fully set
  26   forth herein.
  27         42. Covves admits that it claims to own all rights, title, and interest in US
  28   Design Patent No. D787,617.
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   1         43. Covves admits that it has alleged to Amazon.com and to BLM directly that
   2   BLM’s Captain Floaty Giant Unicorn Pool Float infringes the ‘D617 Patent.
   3         44. Covves admits that Adam Krepack is the sole named inventor of the ‘D617
   4   Patent, and that Mr. Krepack assigned his rights in this patent to Covves before the
   5   patent was issued. Covves lacks knowledge or information sufficient to form a
   6   belief as whether Mr. Krepack assigned his rights “shortly” before the ‘D617 Patent
   7   was issued and therefore denies this allegation.
   8         45. Covves admits that Exhibit 4 to the Complaint, which appears to be the copy
   9   of the Inventor Declaration for the ‘D617 Patent, appears to contain Mr. Krepack’s
  10   signature and states that Mr. Krepack “is the original inventor” of the claimed
  11   invention. Covves denies the remaining allegations of Paragraph 45.
  12         46. Covves denies each and every allegation of Paragraph 46.
  13         47. Paragraph 47 sets forth legal conclusions as to which no response is
  14   required. To the extent a response is required, Covves denies the allegations of
  15   Paragraph 47.
  16         48. The ‘D617 Patent is enforceable, and BLM should be denied the declaratory
  17   relief it seeks. Accordingly, Covves denies each and every allegation of Paragraph
  18   48.
  19                H. Count V (Declaration of Unenforceability of the ‘D617 Patent)
  20         55. Covves repeats its responses to Paragraphs 1 through 48 above as if fully set
  21   forth herein.1
  22         56. Covves admits that it claims to own all rights, title, and interest in US
  23   Design Patent No. D787,617.
  24         57. Covves admits that it alleged to Amazon.com that BLM’s Captain Floaty
  25   Giant Unicorn Pool Float infringes the ‘D617 Patent. Covves denies that its
  26   communications with Amazon.com regarding BLM’s Captain Floaty Giant Unicorn
                1
  27            Covves does not respond to paragraphs 49 to 54 of the Complaint because those
       allegations pertain to Count 4 (Unfair Competition under § 43(a) of the Lanham Act), which was
  28   dismissed pursuant to the Court’s Order on Covves’ Motion to Dismiss. See Dkt. 22.

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   1   Pool Float were “falsely published.”
   2      58. Covves denies each and every allegation of Paragraph 58.
   3      59. Covves admits that Amazon.com appears to have removed BLM’s listing
   4   for the Capital Floaty Giant Unicorn Pool Float. Covves specifically denies that it
   5   engaged in any “wrongful conduct.” Covves lacks knowledge or information
   6   sufficient to form a belief as to the truth of the remaining allegations of Paragraph
   7   59, including whether Covves’ actions were the “direct and proximate cause” of
   8   Amazon.com’s removal of BLM’s listing, and therefore denies the remaining
   9   allegations of Paragraph 59.
  10      60. Covves specifically denies that BLM is entitled to recover any damages.
  11   The remaining allegations of Paragraph 60 sets forth legal conclusions as to which
  12   no response is required. To the extent a response is required, Covves also denies
  13   the remaining allegations of Paragraph 60.
  14             I. Count VI (Interference with Economic Advantage)
  15      61. Covves repeats its responses to Paragraphs 1 through 48 and Paragraphs 55
  16   through 60 above as if fully set forth herein.
  17      62. Covves admits that it claims to own all rights, title, and interest in US
  18   Design Patent No. D787,617.
  19      63. Covves admits that it alleged to Amazon.com that BLM’s Captain Floaty
  20   Giant Unicorn Pool Float infringes the ‘D617 Patent. Covves denies the remaining
  21   allegations of Paragraph 63.
  22      64. Covves denies each and every allegation of Paragraph 64.
  23      65. Covves admits that Amazon.com appears to have removed BLM’s listing
  24   for the Capital Floaty Giant Unicorn Pool Float. Covves specifically denies that it
  25   engaged in any “wrongful conduct.” Covves lacks knowledge or information
  26   sufficient to form a belief as to the truth of the remaining allegations of Paragraph
  27   65, including whether Covves’ actions were the “direct and proximate cause” of
  28   Amazon.com’s removal of BLM’s listing, and therefore denies the remaining
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    1   allegations of Paragraph 65.
    2      66. Covves denies each and every allegation of Paragraph 66.
    3      67. Covves specifically denies that BLM is entitled to recover any damages. The
    4   remaining allegations of Paragraph 67 sets forth legal conclusions as to which no
    5   response is required. To the extent a response is required, Covves also denies the
    6   remaining allegations of Paragraph 67.
    7                                     J.     Count VII
    8        (Unfair Business Practices; Cal. Bus. and Prof. Code §§ 17200 et seq.)
    9      68. Covves repeats its responses to Paragraphs 1 through 48 and Paragraphs 55
   10   through 67 above as if fully set forth herein.
   11      69. Covves admits that it alleged to Amazon.com that BLM’s Captain Floaty
   12   Giant Unicorn Pool Float infringes the ‘D617 Patent. Covves denies the remaining
   13   allegations of Paragraph 69.
   14      70. Covves denies each and every allegation of Paragraph 70.
   15      71. Covves admits that Amazon.com appears to have removed BLM’s listing for
   16   the Capital Floaty Giant Unicorn Pool Float. Covves denies the remaining
   17   allegations of Paragraph 71.
   18      72. Covves specifically denies that BLM is entitled to recover any damages.
   19   The remaining allegations of Paragraph 72 sets forth legal conclusions as to which
   20   no response is required. To the extent a response is required, Covves also denies
   21   the remaining allegations of Paragraph 72.
   22

   23                          K.   The Complaint’s Prayer for Relief
   24      Covves denies that BLM is entitled to any of the relief sought in its prayer for
   25   relief against Covves. BLM’s prayer should be denied in its entirety and BLM
   26   should take nothing.
   27

   28
                                                             AMENDED ANSWER AND COUNTERCLAIM
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    1                               AFFIRMATIVE DEFENSES
    2                        A.     FIRST AFFIRMATIVE DEFENSE
    3                               (Failure to Mitigate Damages)
    4      BLM failed to exercise reasonable care and diligence to mitigate the damages
    5   that it allegedly sustained as a result of Amazon.com’s removal of BLM’s listing
    6   for its “Captain Floaty Giant Unicorn Pool Float” and is therefore barred from
    7   claiming or recovering any monetary relief set forth in the Complaint.
    8                      B.     SECOND AFFIRMATIVE DEFENSE
    9                                     (First Amendment)
   10      BLM’s claims are barred to the extent that Covves’ actions, including its alleged
   11   communications to Amazon.com regarding the ‘D617 Patent, are protected by the
   12   First Amendment of the Constitution of the United States.
   13

   14                                     COUNTERCLAIM
   15         Defendant and Counterclaimant Covves, LLC (“Covves”) hereby asserts a
   16   counterclaim against Plaintiff and Counter-Defendant BLM Products, Ltd.
   17   (“BLM”), as follows:
   18             A. Nature of the Counterclaim and Jurisdiction
   19      1. Covves asserts a counterclaim for patent infringement pursuant to the patent
   20   laws of the United States, 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.
   21      2. The Court has subject matter over the federal counterclaim pursuant to 28
   22   U.S.C. §§ 1331 and 1338(a).
   23      3. BLM is subject to the personal jurisdiction of this Court, and venue is proper
   24   in this District under 28 U.S.C. § 1391(b) and 28 U.S.C. § 1400(a), by virtue of the
   25   Complaint that BLM filed in this Court and BLM’s significant contacts with this
   26   forum. On information and belief, BLM transacts business in California and in this
   27   judicial district, offers products for sale and use in California and in this district,
   28   and BLM has caused injury to Covves and its intellectual property in California and
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    1   in this district.
    2              B. The Parties
    3      4. Covves is a limited liability company, duly organized and existing under the
    4   laws of the State of California, located at 23145 Kashiwa Court, Torrance,
    5   California 90505. Covves sells recreation flotation devices and toys under the
    6   “#FLOATY” brand name through its website, www.getfloaty.com, as well as
    7   online retailers, including Amazon.com.
    8      5. Upon information and belief, BLM is a corporation organized and existing
    9   under the laws of British Columbia, Canada, with its principal place of business at
   10   1105-689 Abbott St., Vancouver, British Columbia, Canada, V6B 0J2. BLM sells
   11   recreational flotation devices through Amazon.com and other online channels under
   12   its “Captain Floaty” brand.
   13              C. Factual Allegations
   14      6. One of Covves’ best-selling products is a giant unicorn-shaped float sold
   15   under the name “#FLOATY Giant Unicorn” (hereinafter “the Infringed Float”).
   16   The design of the Infringed Float is protected by Design Patent No. D787,617 (“the
   17   ‘D617 Patent”), issued on May 23, 2017. Covves is the assignee of record of the
   18   ‘D617 Patent and owns all rights, title, and interest in this patent.
   19      7. In or around June 2017, it came to Covves’ attention that BLM was selling a
   20   product called “Captain Floaty Giant Unicorn Pool Float” on Amazon.com. The
   21   photos that BLM posted on Amazon.com of its “Captain Floaty Giant Unicorn Pool
   22   Float” appear to be photos of the Infringed Float. Upon information and belief,
   23   BLM took photos of the Infringed Float and posted those photos on Amazon.com to
   24   mislead consumers into believing that BLM was selling the Infringed Float, when
   25   in actuality, BLM was selling a product that closely mimicked the Infringed Float.
   26      8. Covves inspected “Captain Floaty Giant Unicorn Pool Floats” sold by BLM
   27   and discovered that the design of BLM’s “Captain Floaty Giant Unicorn Pool
   28   Float” is substantially the same as the design claimed by the ‘D617 Patent and
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    1   embodied in the Infringed Float. Like the Infringed Float, BLM’s “Captain Floaty
    2   Giant Unicorn Pool Float” features a unicorn head emerging from the front of an
    3   inflatable tube and a unicorn tail emerging from the back of the tube. The shape of
    4   the unicorn head and tail on BLM’s “Captain Floaty Giant Unicorn Pool Float” also
    5   closely resemble the shape of the unicorn head and tail on the Infringed Float.
    6      9.   The design of BLM’s “Captain Floaty Giant Unicorn Pool Float” is so
    7   similar to the design of the Infringed Float that customers have been deceived into
    8   buying BLM’s “Captain Floaty Giant Unicorn Pool Float,” mistakenly believing
    9   that they are buying the Infringed Float. This consumer confusion has caused
   10   enormous and irreparable harm to Covves and has eroded the goodwill that Covves
   11   has built in the Infringed Float and “#FLOATY” brand.
   12      10. BLM does not have a license for the ‘D617 Patent or any other
   13   authorization to sell, offer to sell, manufacture, or distribute the Infringed Float.
   14      11. In or around June 2017, Covves notified Amazon.com that it believed that
   15   BLM’s “Captain Floaty Giant Unicorn Pool Float” infringed the ‘D617 Patent.
   16   Covves duly complied with the procedures implemented by Amazon.com for
   17   reporting intellectual property infringement and provided Amazon with a copy of
   18   the ‘D617 Patent. Amazon.com responded to Covves’ report by removing the
   19   listing to BLM’s “Captain Floaty Giant Unicorn Pool Float” from its website.
   20      12. Through its attorney, Covves informed BLM that its “Captain Floaty Giant
   21   Unicorn Pool Float” infringed the ‘D617 Patent and asked that BLM immediately
   22   cease selling that product. BLM’s president, Mark Brown, refused to comply with
   23   Covves’ request and said that he had already paid his manufacturer to produce
   24   thousands of “Captain Floaty Giant Unicorn Pool Floats.” Covves then proposed a
   25   licensing arrangement that would enable BLM to recoup its manufacturing costs,
   26   but Mr. Brown rejected this proposal.
   27      13. Upon information and belief, BLM is continuing to sell its “Captain Floaty
   28   Giant Unicorn Pool Floats” through online channels other than Amazon.com, even
                                                               AMENDED ANSWER AND COUNTERCLAIM
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    1   though BLM is aware that this product infringes the ‘D617 Patent. Covves is
    2   entitled to injunctive relief and damages for BLM’s willful infringement of the
    3   ‘D617 Patent.
    4               D. Counterclaim – Infringement of the ‘D617 Patent
    5       14. By this reference, Covves realleges and incorporates each and every
    6   averment contained in paragraphs 1 through 13, inclusive.
    7       15. BLM has infringed, and continues to infringe the ‘D617 Patent, by offering
    8   to sell, selling, or importing, in this District, and elsewhere in the United States, the
    9   “Captain Floaty Giant Unicorn Pool Float,” the design of which is substantially the
   10   same as the ornamental design of the ‘D617 Patent.
   11       16. BLM’s actions constitute infringement of the ‘D617 Patent in violation of
   12   35 U.S.C. § 271.
   13       17. Covves has sustained damages, and will continue to sustain damages, as a
   14   result of BLM’s aforementioned acts of infringement. Covves is entitled to recover
   15   damages sustained as a result of BLM’s wrongful acts in an amount to be proven at
   16   trial.
   17       18. BLM’s infringement of Covves’ rights under the ‘D617 Patent will continue
   18   to damage Covves’ business, causing irreparable harm, for which there is no
   19   adequate remedy at law, unless BLM is enjoined by this Court.
   20       19. BLM has willfully infringed the ‘D617 Patent, entitling Covves to increased
   21   damages under 35 U.S.C. § 284 and to attorneys’ fees and costs incurred in
   22   prosecuting this action under 35 U.S.C. § 285.
   23       20. Alternatively, Covves is entitled to recover BLM’s total profits from its
   24   sales of the “Captain Floaty Giant Unicorn Pool Float” under 35 U.S.C. § 289.
   25                                 PRAYER FOR RELIEF
   26            Covves prays for judgment against BLM as follows:
   27       1. For a judgment finding BLM liable for infringement of the ‘D617 Patent.
   28       2. For a preliminary and permanent injunction prohibiting BLM, their agents,
                                                               AMENDED ANSWER AND COUNTERCLAIM
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    1   servants, and any and all parties acting in concert with any of them, from directly or
    2   indirectly infringing the ‘D617 Patent in any manner, pursuant to 35 U.S.C. § 283.
    3      3. For an award of damages adequate to compensate Covves for BLM’s
    4   infringement of the ‘D617 Patent, in an amount to be proven at trial, or in the
    5   alternative, an award of BLM’s total profits under 35 U.S.C. § 289.
    6      4. For an award of treble Covves damages, pursuant to 35 U.S.C. § 284.
    7      5. For a declaration that this is an exceptional case and that Covves be awarded
    8   its attorneys’ fees and expenses, pursuant to 35 U.S.C. § 285.
    9      6.    For an award of Covves’ costs in asserting this counterclaim, pursuant to all
   10   applicable state statutory and common law, including 35 U.S.C. § 284.
   11      7.    For an award of prejudgment interest according to law, including pursuant
   12   to 35 U.S.C. § 284.
   13      8.    For an award of post-judgment interest, pursuant to 28 U.S.C. § 1961(a).
   14      9.    For such other and further relief as the Court deems just and equitable.
   15                              DEMAND FOR JURY TRIAL
   16           Covves demands trial by jury on all claims and issues so triable.
   17

   18
        DATED: November 9, 2017                      Stephen C. McArthur
   19                                                THE MCARTHUR LAW FIRM
   20

   21                                                By:        /s/ Stephen C. McArthur
                                                             STEPHEN C. MCARTHUR
   22
                                                     Attorney for Defendant Covves, LLC
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                                                              AMENDED ANSWER AND COUNTERCLAIM
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    1                              CERTIFICATE OF SERVICE
    2   I, Valerie McConnell, declare:
    3         I am a citizen of the United States and employed in Los Angeles County,
    4   California. I am over the age of eighteen years and not a party to the within-entitled
    5   action. My business address is 400 Corporate Pointe, 3 rd Floor, Culver City,
    6   California 90230. On November 9, 2017, I served a copy of Defendant Covves,
    7   LLC’s Amended Answer and Counterclaim by electronic transmission.
    8         I am familiar with the USDC Central District’s practice for collecting and
    9   processing electronic filings. Under that practice, documents are electronically
   10   filed with the court. The court’s CM/ECF system will generate a Notice of
   11   Electronic Filing (NEF) to the filing party, the assigned judge, and any registered
   12   users in the case. The NEF will constitute service of the document. Registration as
   13   a CM/ECF user constitutes consent to electronic service through the court’s
   14   transmission facilities.
   15         Executed on November 9, 2017, at Los Angeles, California.
   16

   17
                                               /s/ Valerie McConnell
   18
                                               Valerie McConnell
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                                                             AMENDED ANSWER AND COUNTERCLAIM
                                                                   Case No. 2:17-cv-06224-RGK-PLA
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